  Case 17-30112         Doc 20     Filed 03/01/17 Entered 03/01/17 10:41:19              Desc Main
                                     Document     Page 1 of 2
                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NORTH DAKOTA

In re:                                         )
                                               )        NOTICE OF APPEARANCE AND
Vanity Shop of Grand Forks, Inc.               )        REQUEST FOR SERVICE OF PAPERS
                                               )
                                 Debtor.       )        Bankruptcy Case No. 17-30112
                                               )        Chapter 11
                                               )

         PLEASE TAKE NOTICE that, pursuant to Rule 9010 of the Bankruptcy Rules, Wells Fargo

Bank, National Association, a creditor of the Debtor, is a party in interest and hereby appears in this

case.

         PLEASE TAKE FURTHER NOTICE that, pursuant to Rule 2002 of the Bankruptcy Rules,

the undersigned requests that all notices and papers specified by that Rule, and pursuant to Rule 9010

of the Bankruptcy Rules, that all other notices given or required to be given in this case and all other

papers served or required to be served in this case, be given to and served upon:

                                 Michael M. Thomas
                                 Conmy Feste Ltd.
                                 P.O. Box 2686
                                 Fargo, ND 58108-2686

         The foregoing requests include, without limitation, notices of any orders, pleadings, motions,

applications, complaints, demands, hearings, requests or petitions, disclosure statements, answering

or reply papers, memoranda and briefs in support of any of the foregoing and any other document

brought before this Court with respect to these proceedings, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex

or otherwise.

         Dated this 1st day of March, 2017.

                                                 /s/ Michael M. Thomas
                                                Michael M. Thomas, ND ID # 04215
                                                CONMY FESTE LTD.
                                                P.O. Box 2686
                                                Fargo, ND 58108-2686
                                                (701) 293-9911
                                                mthomas@conmylaw.com

                                                ATTORNEYS FOR WELLS FARGO BANK,
                                                NATIONAL ASSOCIATION
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                                       Document     Page 2 of 2


                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NORTH DAKOTA


 In re:                                      )
                                             )   CERTIFICATE OF SERVICE
 Vanity Shop of Grand Forks, Inc.            )
                                             )   Bankruptcy Case No. 17-30112
                                             )   Chapter 11
                          Debtor.            )
                                             )

          The undersigned hereby certifies that she is an employee at the law firm of Conmy Feste Ltd.,

 and is a person of such age and discretion as to be competent to serve papers.

          That on March 1, 2017, she served a copy of:

                      Notice of Appearance and Request for Service of Papers

 by placing the copy in a postpaid envelope addressed to the person(s) hereinafter named, at the

 address stated below, which is the last known address, and by depositing said envelope and contents

 in the United States mail at Fargo, North Dakota:

          Vanity Shop of Grand Forks, Inc.
          PO Box 547
          Fargo, ND 58107-0547

following parties were served electronically:

Caren W. Stanley
U.S. Trustee

                                                         /s/ Christa Gronwold
                                                         Christa Gronwold
